Case 3:02-cv-01940-N Document1 Filed 09/09/02 Pagelof10 PagelID1

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— ... GIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by loca! rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM }

l. (a) PLAINTIFFS DEFENDANTS
Tenet Hospitals, Limited, d/b/a Doctors Texas Health Choice, L.C.

Hospital of Dallas; Tenet Healthsystem
3-02CV1940-N

Hospitals, Dallas d/b/a RHD Memorial Medical
Center and Trinity Medical Center

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT Dallas

(IN U.S PLAINTIFF CASES ONLY)

JS 44
(Rev. 3/99)

(b) county oF RESIDENCE OF FIRST LISTED PLAINTIFF Dallas
(EXCEPT IN U.S PLAINTIFF CASES)

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Under Equal Access to Justice
(1 950 Constitutionality of
State Statutes
C 890 Other Statutory Actions

V. ORIGIN (PLACE AN "X" IN ONE BOX ONLY} Appeal to District
Transferred from Judge from
O11 Original {2 Removed from (3 Remanded from O14 Reinstated or O5 another district 6 Multidistrict O17 Magistrate
Proceeding State Court Appeilate Court Reopened (specify) Litigation Judgment

VI. CAUSE OF ACTION (cire tHE u's Civil STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY }

Lawsuit filed over insurance claims of Texas Health Choice enrollees who receive coverage under

the federal Medicare program and enrollees covered by the Federal Employee Health Benefits

Procram. Case is removed pursuant to 42 U.S.C. Section 1395, et seq.
Vil. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND Sto be CHECK YES only if demanded in complaint

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JURY DEMAND:

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VIIL.RELATED CASE(S) (See instructions):

IF ANY No related cases.

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SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

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Case 3:02-cv-01940-N Document1 Filed 09/09/02 Page2of10 PagelD2

Attachment to Civil Cover Sheet JS-44
Tenet Hospitals, Limited, d/b/a Doctors Hospital of Dallas, et al. v. Texas Health Choice, L.C.

l(c) Plaintiffs’ Attorneys:

James E. Gjerset

Shauna L. Lorenz

Gjerset & Lorenz, L.L.P.
2801 Via Fortuna, Suite 600
Austin, TX 78746

(512) 899-3995

(512) 899-3939 FAX

Defendant’s Attorneys:

Penny Hobbs

Scott Cooley

Judy Frederick

McGinnis, Lochridge & Kilgore, L.L.P.
1300 Capitol Center

919 Congress Avenue

Austin, TX 78701

(512) 495-6000

(512) 495-6093 FAX
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Plaintiffs, )
)
V. ) Civil Action No.
)
TEXAS HEALTH CHOICE, L.C., )
)
Defendant. )
)

NOTICE OF REMOVAL OF CIVIL ACTION

Defendant Texas Health Choice, L.C. (“THC”), submits this notice of removal of this
civil action from the J-191st District Court of Dallas County, Texas, to the United States District
Court for the Northern District of Texas pursuant to 28 U.S.C. § 1441, et seg. The grounds for
removal are as follows.

Background

1. Plaintiffs Tenet Hospitals, Limited, d/b/a Doctors Hospital of Dallas, and Tenet
Healthsystem Hospitals, Dallas, Inc., d/b/a RHD Memorial Medical Center and Trinity Medical
Center (the “Hospitals”), are participating providers that provide hospital services to enrollees of
THC.

2. At all times relevant to this lawsuit, THC had, and is still subject to, a
Medicaret+Choice contract with the federal Centers for Medicare & Medicaid Services pursuant

to Title 42, Part 422, Code of Federal Regulations.

Case 3:02-cv-01940-N Document1 Filed 09/09/02 Page4of10 PagelD4

3. In addition, at all times relevant to this lawsuit, THC was a contracting carrier
under the Federal Employees Health Benefits Program.

4. This action involves claims by the Plaintiff Hospitals for payment for services
provided to THC enrollees who receive their health insurance coverage through the federal
Medicaret+Choice program and of THC enrollees covered by the Federal Employee Health
Benefits Program. (See Affidavit of David Marlon, a copy of which is attached to this notice

behind Tab 5.)

Exclusive Federal Jurisdiction for Medicare Claims

5. Because this matter involves Medicare claims, the state court does not have
jurisdiction. Federal courts have exclusive jurisdiction under the Medicare Act, 42 U.S.C. §
1395, et seq.

6. Claims relating to the disposition of Medicare or Medicare+Choice benefits are
subject first to an administrative exhaustion requirement, and then to judicial review solely in
federal court. See 42 USC. § 405(g). This process—exhaustion of federal administrative
remedies followed by judicial review in federal court—“is the sole avenue for judicial review of
all ‘claim[s] arising under’ the Medicare Act.” Heckler v. Ringer, 466 U.S. 602, 614-15 (1984).

7. Under applicable federal regulations, the Hospitals’ claims for payment against
THC are as “assignees” of THC’s Medicare members’ benefits. The exclusive federal dispute-
resolution process for Medicare claims specifically contemplates disputes brought by “[a]n
assignee of the [Medicare] enrollee (that is, a physician or other provider who has furnished a
service to the enrollee and formally agrees to waive any right to payment from the enrollee for

that service).” 42 C.F.R. § 422.574.
Case 3:02-cv-01940-N Document1 Filed 09/09/02 Page5of10 PagelID5

8 Because the Hospitals’ allegations concern benefits under the federal Medicare
program, their claims must be determined under the federal statutory scheme established for
review of Medicare-related claims by carriers, the Secretary of Health and Human Services, and
the federal district courts under the Medicare Act. “Congress provided elaborate review
provisions to be used by parties dissatisfied with the initial disposition of their Medicare claims.”
Bodimetric Health Servs., Inc. v. Aetna Life & Cas. Co., 903 F.2d 480, 483 (7th Cir. 1990). The
review provisions are codified in two sections of the Social Security Act.’

9. The first provision, 42 U.S.C § 405(g), provides the basis for all judicial review
of Medicare benefit claims. It states that judicial review of Medicare claims shall be available
only after the Secretary of Health and Human Services renders a final decision on the claim,’
and then only in a federal district court. See 42 U.S.C. § 405(g). In Ringer, the Supreme Court
explained that the final decision requirement consists of two elements—{1) “presentment,” a
nonwaivable, jurisdictional prerequisite that a benefits claim must be presented to the Secretary
of Health and Human Services, and (2) “exhaustion,” a prerequisite, waivable by the Secretary,
that a claimant fully pursue all available administrative remedies before seeking judicial review.
466 US. at 617. See also Mathews v. Eldridge, 424 U.S. 319 (1976). The administrative
remedy procedure that must be followed for claims for a Medicare participant enrolled in a

Medicare+Choice plan is set out at 42 C.F.R. § 422.560, et seq.

' The Medicare Act expressly provides that the review provisions from the Social Security Act are applicable to
managed care organizations such as defendants, and that any reference to the “Commissioner of Social Security” or
the "Social Security Administration" in section 405(g) shall be considered a reference to the “Secretary” or the
“Department of Health and Human Services,” respectively. See 42 U.S.C. §§ 1395ffb)(1), 1395ii.

> Before Medicare claims reach the administrative mechanisms established within the Department of Health and
Human Services, the claimant must first pursue the appropriate grievance procedures provided by the carrier. See,
eg.,42 CF.R. 8§ 422.560 et sey
Case 3:02-cv-01940-N Document1 Filed 09/09/02 Page6of10 PagelID6é

10. The second statutory review provision, 42 U.S.C. § 405(h), further restricts the
availability of judicial review for Medicare-related claims. It states that “[n]o findings of fact or
decision of the Commissioner of Social Security shall be reviewed by any person, tribunal, or
governmental agency except as provided herein.” /d. It further states that no action shall be
brought against “the United States, the Commissioner of Social Security, or any officer or
employee thereof. . . under section 1331 or 1346 of title 28 to recover on any claim arising under
this [subchapter].” /d.

11. The Supreme Court, reading these provisions in conjunction with one another, has
held that 42 U.S.C. § 405(g) “is the sole avenue for judicial review of all ‘claim[s] arising under’
the Medicare Act.” Ringer, 466 U.S. at 614-15. The Supreme Court has instructed courts to
apply the term “arising under” broadly to channel any claim that is “inextricably intertwined”
with claims for the payment of Medicare benefits into the exclusive Medicare dispute resolution
process. See Ringer, 466 U.S at 615, 624; Weinberger v. Salfi, 422 U.S. 749, 760-61 (1975).
Only claims found to be “wholly collateral” to claims for Medicare benefits are exempt from the
requirement that they be adjudicated through the exclusive review scheme established by 42
U.S.C. § 405(g) and 405(h). See Ringer, 466 U.S. at 615 (“It is of no importance that
respondents here . . . sought only declaratory and injunctive relief and not an actual award of
benefits as well.”).

12. State law claims by providers that are fairly characterized as challenges to the
amounts paid for services provided to Medicare beneficiaries are barred. See Midland
Psychiatric Assoc., Inc. v. United States, 145 F.3d 1000, 1005 (8th Cir. 1998) (Medicare
provider’s state law claim for tortious interference with contract would entangle the court in

redetermining a Medicare claims decision and therefore “arose under” the Medicare Act);
Case 3:02-cv-01940-N Document1 Filed 09/09/02 Page7of10 PagelID7

Bodimetric Health Servs., 903 F.2d at 487. In Bodimetric, plaintiffs asserted state-law claims
against an insurer participating in the Medicare program that were similar to those at issue here,
including allegations of fraud, negligence, breach of contract, breach of implied covenant of
good faith and fair dealing, and breach of fiduciary duty. The court determined that such
allegations were actually based on alleged misconduct in processing Medicare claims for
reimbursement. As such, the claims arose under the Medicare Act and were required to be
adjudicated in federal court pursuant to the Medicare Act’s exclusive dispute resolution process.

13. The case of Lifecare Hospitals, Inc. v. Ochsner, 139 F. Supp. 2d 768 (W.D. La.
2001), is directly on point. The plaintiff brought an action in state court against an HMO that
provided a Medicaret+Choice plan to recover amounts owed for hospital services /d. at 770.
The defendant removed to federal court and expressly reserved the right to seek dismissal for
lack of subject matter jurisdiction pursuant to section 405(g) of the Medicare Act based on
Lifecare’s failure to exhaust administrative remedies. The Lifecare court accepted removal and
determined that despite being couched as a state law contract action, the plaintiff's claims were,
“at bottom, claims for reimbursement for benefits provided to enrollees in [defendant’s] plan.”
Lifecare Hospitals, 139 F. Supp. 2d at 772. Accordingly, the claims were “inextricably
intertwined with claims for benefits,” and the court held that they arose under the Medicare Act.
fd.

14. For removal considerations, these cases all share the same dispositive
characteristic: the plaintiffs attempted to present claims for Medicare benefit reimbursement as
state law causes of action. In each case, however, the reviewing court discerned the true nature
of plaintiffs’ claims, and held them to be governed by the exclusive review scheme established

for claims arising under the Medicare Act. As the Seventh Circuit aptly stated:
Case 3:02-cv-01940-N Document1 Filed 09/09/02 Page8of10 PagelD8

A party cannot avoid the Medicare Act’s jurisdictional bar simply
by styling its attack as a claim for collateral damages instead of a
challenge to the underlying denial of benefits. If litigants who
have been denied benefits could routinely obtain judicial review of
these decisions by recharacterizing their claims under state and
federal causes of action, the Medicare Act’s goal of limited judicial
review for a substantial number of claims would be severely
undermined.

Bodimetric Health Servs., 903 F.2d at 487, see also Lifecare Hosp., Inc. v. Ochsner Health Plan,
Inc., 139 F. Supp. 2d 768, . Plaintiffs’ state-law claims in this case are intertwined with
payments for Medicare benefits. They are therefore subject to exclusive federal jurisdiction.”

Federal Question Jurisdiction

15. Additionally, this Court has federal-question jurisdiction regarding the claims for
services provided to persons covered by the Federal Employees Health Benefits Program. The
resolution of such claims is governed by federal law. See 5 U.S.C. § 8901 et seg. Regulations
adopted by the Office of Personnel Management, pursuant to 5 U.S.C. § 8913 set forth an
administrative procedure for resolving disputed claims. See 5 C.F.R. § 890.105.

16. This Notice of Removal is being filed within 30 days of the service of Plaintiffs’
Original Petition upon THC, pursuant to 28 U.S.C. § 1446(b).

17. Pursuant to Local Rule 81.1(3) of the United States District Court of the Northern
District of Texas, the following documents are attached to this notice:

1. Index of Documents attached, including the description of documents filed

in the state court action, and the date on which documents were filed in

state court.

* Because this Court has proper jurisdiction over Plaintiffs’ Medicare-related claims, it may exercise supplemental

Jurisdiction over any non-Medicare-related claims pursuant to 28 U.S.C. § 1367.
Case 3:02-cv-01940-N Document1 Filed 09/09/02 Page9of10 PageID9

2. True and correct copies of the entire record in the state court action,
including all process and pleadings served or filed in the state court action

as of the time of filing of this removal (arranged chronologically behind

Tabs | and 2).
3. True and correct copy of the docket sheet in the state court action (behind
Tab 3).
4. Certificate of Interested Persons (behind Tab 4).
18. True and correct copies of a separate Notice to State Court of Removal of Civil

Action will be served upon the Hospitals’ counsel and filed with the clerk of the District Court of
Dallas County, Texas, pursuant to 28 U.S.C. § 1446(d).

19. In filing this notice, Defendants do not waive any defenses available to them in
this action.

20. THC reserves the right to move to dismiss this suit, based on the Hospitals’
failure to exhaust the administrative remedies applicable to Medicare claims and to claims of
persons covered by the Federal Employees Health Benefits Program; however, those claims are
removable to this Court, subject to the motion to dismiss.

WHEREFORE, Texas Health Choice, L.C., respectfully gives notice to this Court of the
removal of this action from the District Court of Dallas County, Texas to this Court in

accordance with the foregoing legal authorities.
Case 3:02-cv-01940-N Document1 Filed 09/09/02 Page10of10 PagelD 10

Respectfully submitted,

MCGINNIS, LOCHRIDGE & KILGORE, L.L.P.
Penny Hobbs

State Bar No. 09738900

1300 Capitol Center

919 Congress Avenue

Austin, Texas 78701

(512) 495-6000

(512) 495-6093 FAX

By: Rone Wetta

Penny H8bbs
State Bar No. 09738900

Counsel for Defendant Texas Health Choice, L.C.
OF COUNSEL:

MCGINNIS, LOCHRIDGE & KILGORE, L.L.P.
Judy Frederick

State Bar No. 10421300

Scott Cooley

State Bar No. 00796394

1300 Capitol Center

919 Congress Avenue

Austin, Texas 78701

(512) 495-6000

(512) 495-6093 FAX

CERTIFICATE OF SERVICE

I hereby certify that, on the 9th day of September, 2002, a true and correct copy of the
above and foregoing Notice of Removal was served by certified mail, return receipt requested,
on the following:

James E. Gjerset

Gjerset & Lorenz, L.L P.
2801 Via Fortuna, Suite 500
Austin, Texas 78746

Penny Hobby

